        CASE 0:22-cv-01484-NEB-JFD Doc. 19 Filed 07/28/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


 CARRIE MUGRDECHIAN,                            Case No. 22‐CV‐1484 (NEB/JFD)

                       Plaintiff,

 v.                                                 ORDER FOR DISMISSAL

 PHARMERICA CORP., doing business as
 PharMerica Drug Systems, LLC.,

                       Defendant.



      Pursuant to the parties’ Stipulation of Dismissal With Prejudice filed on

July 27, 2022 (ECF No. 18), IT IS HEREBY ORDERED that this action is DISMISSED WITH

PREJUDICE and each party will bear their own attorneys fees’ and costs.



Dated: July 28, 2022                        BY THE COURT:

                                            s/Nancy E. Brasel
                                            Nancy E. Brasel
                                            United States District Judge
